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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                 4:15CR3038
      vs.
                                                                  ORDER
ALBERT SCHOENTHAL, AMANDA
SCHNOOR,
                    Defendants.


       The defendants have moved to continue the pretrial motion deadline, (Filing Nos.
26 & 27), and the trial, (Filing No. 28), because the defendant and defense counsel need
additional time to fully review the discovery received before deciding if pretrial motions
should be filed.. The motion to continue is unopposed. Based on the showing set forth in
the motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     The defendants motions, (filing nos. 26, 27, and 28), are granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before July 24, 2015.

      3)     As to both defendants, trial of this case is continued pending resolution of
             any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and July 24, 2015, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1), (h)(6) & (h)(7).

      May 27, 2015.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
